                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

THE PROPERTY MANAGEMENT                            :
CONNECTION, LLC, ET AL.,                           :
                                                   :       CIVIL ACTION NO.: 3:21-cv-00359
                                                   :
                                                   :
                         Plaintiffs,               :
                                                   :
                 v.                                :
                                                   :
ACTING DIRECTOR UEJIO,                             :
CONSUMER FINANCIAL                                 :
PROTECTION BUREAU, ET AL.                          :
                                                   :
                         Defendants.               :

                        PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF
                      MOTION FOR TEMPORARY RESTRAINING ORDER

        Plaintiffs The Property Management Connection, LLC (PMC), Gordon J. Schoeffler, and

the National Association of Residential Property Managers (NARPM) (collectively the Housing

Providers) reply to Defendants Acting Director Dave Uejio, Consumer Financial Protection

Bureau, and the United States of America (collectively CFPB) and their briefs in opposition (ECF

No. 17, ECF No. 18) to Plaintiffs’ motion for a temporary restraining order (ECF No. 6). 1

        CFPB has put the Housing Providers in an impossible position. The agency has insisted in

its interim final rule, Debt Collection Practices in Connection With the Global COVID-19

Pandemic (Regulation F), 86 Fed. Reg. 21163 (April 22, 2021), that any person who seeks to

collect back rent from a tenant must make a series of disclosures about the applicability of an order

entitled, Temporary Halt in Residential Evictions to Prevent Further Spread of COVID-19 issued

by the U.S. Centers for Disease Control and Prevention (CDC). If the Housing Providers refuse,


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  The United States filed its own brief adopting the substantive arguments set out by CFPB. See ECF No. 18. The
arguments are not convincing regardless of their source.

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    Case 3:21-cv-00359 Document 20 Filed 05/11/21 Page 1 of 11 PageID #: 142
then they face private liability to their tenants and potential enforcement from the agency. But the

latter order is unlawful, and a gross misuse of government authority. See Tiger Lily, LLC v. United

States Dep’t of Hous. & Urb. Dev., 992 F.3d 518, 522 (6th Cir. 2021); Tiger Lily, LLC, et al. v.

HUD, et al., No. 2:20-cv-2692, --- F.Supp.3d ----, 2021 WL 1171887, at *10 (W.D. Tenn. Mar.

15, 2021). The Housing Providers have now been caught in the middle, ordered by CFPB to make

false and misleading disclosures about the Halt Order, and facing liability if they instead choose

to follow the orders of the courts.

        Instead of acknowledging this vexing state of affairs, CFPB has steadfastly insisted that

this Court should also ignore a published decision by the Sixth Circuit, and that the Housing

Providers have no choice but to make inaccurate disclosures concerning the invalid Halt Order. In

CFPB’s eyes, the Halt Order may, or may not, be valid, but either way, the Housing Providers

must tell their tenants (even falsely) that it may apply to them. “In other words, telling the truth is

prohibited, while telling lies is either mandatory or at least permitted. All this in the name of

enforcing a statute that forbids ‘false or misleading representations.’” Jacob Sullum, Federal

Regulators Require Rent Collectors To Lie About the CDC's Illegal Eviction Moratorium, Reason

(May 4, 2021) https://reason.com/2021/05/04/federal-regulators-require-rent-collectors-to-lie-

about-the-cdcs-illegal-eviction-moratorium/. CFPB’s Rule is unjustified and unjustifiable. This

Court must issue a temporary restraining order.

   I.      PLAINTIFFS WILL SUFFER IRREPARABLE CONSTITUTIONAL
           INJURIES FROM THE CFPB RULE AND THUS THE BALANCE OF THE
           EQUITIES WARRANTS A RESTRAINING ORDER

        Mindful perhaps that it has no substantive defense of its Rule, CFPB argues forcefully that

the Housing Providers have not suffered sufficient harm to warrant early intervention by this Court.

But CFPB has only clarified why this Court must issue the TRO. By insisting, still, that the now-



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   Case 3:21-cv-00359 Document 20 Filed 05/11/21 Page 2 of 11 PageID #: 143
invalidated Halt Order should be followed, CFPB has demonstrated the need for a clear statement

by this Court that the Housing Providers 2 need not issue the false disclosures mandated by CFPB.

         CFPB’s argument against irreparable harm is to simply dismiss the Housing Providers’

First Amendment interests by asserting that the plaintiffs can avoid being subject to fines and

enforcement by simply following the invalid CFPB Rule. Specifically, CFPB says that “even if

the required disclosures were false and in violation of the First Amendment (they are not),

Plaintiffs have a simple way to avoid any injury: Plaintiffs could simply defer initiating the eviction

proceedings that trigger the disclosure requirements.” CFPB Br. at 22. In other words, even though

CFPB has no lawful basis to force the disclosures at issue, CFPB says that the Housing Providers

can avoid making them by forgoing their other legal rights to access court proceedings and retake

their own private property. The Housing Providers must apparently maintain this posture until

CFPB exhausts all appeals. This argument makes a mockery of First Amendment law, represents

an unlawful form of coercion, and, in any event, is based on a faulty factual premise.

         As a threshold, CFPB seems to agree with longstanding precedent establishing that “[w]hen

a party seeks a preliminary injunction on the basis of the potential violation of the First

Amendment, the likelihood of success on the merits often will be the determinative factor.”

Connection Distrib. Co. v. Reno, 154 F.3d 281, 288 (6th Cir. 1998). Indeed, as the Sixth Circuit

has recognized, if the Housing Providers “can establish a substantial likelihood of success on the

merits of its First Amendment claim, [they] also ha[ve] established the possibility of irreparable

harm as a result of the deprivation of the claimed free speech rights.” See id. at 288. Thus, because




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  CFPB quibbles with the idea that Plaintiffs really are “housing providers” instead of its preferred term “debt
collectors.” See CFPB Br. at 13 n. 14. There is no doubt that Plaintiffs fall under the CFPB Rule’s definition of “debt
collectors” because they seek to collect unpaid rent from residential tenants. See Pl. Br. at 7-8. As they face legal
jeopardy unless they make CFPB’s false and misleading disclosures, there is no doubt that they have ample reason to
seek this Court’s intervention.

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    Case 3:21-cv-00359 Document 20 Filed 05/11/21 Page 3 of 11 PageID #: 144
the Housing Providers’ substantive claim is likely to succeed, they have also shown irreparable

harm.

        While that showing resolves the issue, CFPB’s suggestion about simply forgoing lawful

speech must be exposed for what it is—an attack on First Amendment jurisprudence. “[I]t is well-

settled that ‘loss of First Amendment freedoms, for even minimal periods of time, unquestionably

constitutes irreparable injury,’” in part because a speaker might “‘remain silent rather than

communicate even arguably unlawful words [and] ideas[.]’” Id. at 288, 293 (quoting Elrod v.

Burns, 427 U.S. 347, 373 (1976) (plurality) and Reno v. ACLU, 521 U.S. 844, 872 (1997),

respectively). Indeed, in raising a First Amendment challenge to a statute or rule courts must relax

normal considerations and will entertain broad challenges that consider even third-party harms

because of the threat of chilling protected speech. See Virginia v. Hicks, 539 U.S. 113, 119 (2003)

(acknowledging that overbreadth adjudication reduces the “social costs” of the “considerable

burden (and sometimes risk) of vindicating [ ] rights through case-by-case litigation”); Watchtower

Bible & Tract Soc’y of N.Y., Inc. v. Village of Stratton, 536 U.S. 150, 167 n. 14 (2002) (allowing

the third-party claim of those who wish to canvass anonymously to factor into substantiality of

overbreadth without any notion of whether claims had been or will be brought against them noting

only that the statute would require them to surrender their anonymity). Thus, the Sixth Circuit has

recognized that a litigant can challenge a rule on First Amendment grounds “even where the

agency interpreted a provision in such a way as to preclude enforcement.” Anderson v. Spear, 356

F.3d 651, 669 (6th Cir. 2004).

        CFPB’s suggestion that there really is no injury here because, maybe, the Housing

Providers could somehow change their behavior to avoid being subject to enforcement ignores this

precedent. Instead, CFPB has suggested that, even without a lawful basis for its rule, the Housing



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   Case 3:21-cv-00359 Document 20 Filed 05/11/21 Page 4 of 11 PageID #: 145
Providers should stay quiet instead of risking enforcement actions if they choose to make truthful

disclosures to their tenants. Protected speech cannot be so simply cast aside as unimportant, and

the fact that CFPB has concededly chilled lawful speech is more than sufficient to constitute

irreparable harm. See Connection Distrib. Co., 154 F.3d at 288.

       Further, CFPB conveniently ignores the trilemma facing the Housing Providers. The

plaintiffs can choose to engage in false and misleading speech by incorrectly informing tenants

that they cannot be evicted. This coercion of speech, of course, would violate the First Amendment.

Otherwise, the Housing Providers can forgo any attempts to collect rent, which everyone agrees is

owed to them, and relinquish their property, indefinitely, so that they can avoid being forced by

the federal government to say false and misleading things to their tenants. Or, finally, the Housing

Providers can speak the truth, but be subject to liability to their tenant and the government (and

face the potentially ruinous costs of fighting a CFPB investigation) under the CFPB Rule. This

very coercion is the First Amendment violation—the Housing Providers must choose between false

speech and some other negative outcome. The Constitution does not permit the government to

behave this way. See id.

       Finally, as a factual matter, PMC and Mr. Schoeffler cannot “simply defer initiating the

eviction proceedings” as CFPB insists, because they already face legal jeopardy and consequences

from the rule. CFPB argues that the Rule “only requires a debt collector to provide a disclosure if

the collector chooses to send an eviction notice (or, if the notice has already been sent, chooses to

file an eviction action) on or after May 3, 2021,” which the agency somehow construes to mean

that the Housing Providers are not really in jeopardy. CFPB Br. at 10-11. For PMC, it is simply

too late. PMC has initiated eviction proceedings for two tenants. Attachment A, Declaration of

Trevor Garrett at ¶¶ 3-6. But PMC has not made the disclosures required by CFPB. Attachment



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   Case 3:21-cv-00359 Document 20 Filed 05/11/21 Page 5 of 11 PageID #: 146
A, Declaration of Trevor Garrett at ¶¶ 3-6. Under CFPB’s own explanation of its rule, PMC is

currently in legal jeopardy under the Rule.

         For Mr. Schoeffler, whose practice centers on housing matters, simply refusing to practice

law for his clients is hardly an option. If Mr. Schoeffler declines to prosecute his clients’ cases,

this will hurt their legal interests by needlessly delaying their cases, exposing their properties to

diminution of value and damage and depriving the homeowners of replacement tenants.

Attachment B, Declaration of Gordon Schoeffler at ¶¶ 5-7. Furthermore, Mr. Schoeffler’s clients

will have no recourse from the courts for these harms. Id. at ¶¶ 5-7. If Mr. Schoeffler were to

prejudice his clients in this way, this would harm his legal practice and his reputation as a

businessperson. Id. at ¶¶ 3-4, 7. CFPB’s proposal is thus totally untenable.

   II.      CONTRARY TO CFPB’S ARGUMENT, THE SIXTH CIRCUIT HAS
            INVALIDATED THE CDC HALT ORDER

         CFPB’s substantive defense of its rule betrays an obstreperousness that does little more

than prove the need for this Court’s intervention. CFPB says the Housing Providers have nothing

to fear because “the Rule is clear that its provisions apply only to debt collectors ‘collecting a debt

in any jurisdiction in which the CDC order applies.’” CFPB Br. at 14 (quoting 12 C.F.R. §

1006.9(c)). But then CFPB never says whether or not it thinks the CDC Order applies in this Court.

In fact, CFPB explicitly says otherwise. It disclaims the Sixth Circuit’s Tiger Lily decision as not

being “a binding Circuit decision on the merits of the case” and then says that “the Sixth Circuit’s

decision simply denied a requested stay of an order that currently applies only to the Western

District of Tennessee.” CFPB Br. at 18 n. 17. As much as the Housing Providers would welcome

a limited holding from this Court that the CFPB Rule has no application to them, CFPB has argued

otherwise. That kind of logic is why Plaintiffs have sought this TRO.




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   Case 3:21-cv-00359 Document 20 Filed 05/11/21 Page 6 of 11 PageID #: 147
          Furthermore, CFPB’s halfhearted suggestion that this Court should disregard the Tiger Lily

decision should not delay this Court long. As noted, a panel of the Sixth Circuit held, in a published

opinion that Congress did not “grant the CDC the power it claims” underlying the Halt Order.

Tiger Lily, 992 F.3d at 522. “In the regular course of events, one panel of [the Sixth Circuit] cannot

overrule another panel’s published decision.” Wallace v. FedEx Corp., 764 F.3d 571, 583 (6th Cir.

2014). And, of course, a district court is likewise bound by the Court of Appeals. See id. To be

sure, unpublished decisions by motions panels of interlocutory orders may be subject to revision,

and are “thus, not strictly binding upon subsequent panels[.]” Id. Published decisions are binding,

however. See 6 Cir. R. 32.1(b) (“Published panel opinions are binding on later panels. A published

opinion is overruled only by the court en banc.”); Lair v. Bullock, 798 F.3d 736, 747 (9th Cir.

2015) (“We have held that motions panels can issue published decisions … [and] we are bound by

a prior three-judge panel’s published opinions” on motions). And, even for unpublished motions

decisions, “[l]ater panels cannot simply choose to disregard motions-panel decisions, and if a

litigant wishes to challenge a motions panel’s decision on a dispositive motion, the proper course

of action is to request panel rehearing or rehearing en banc.” Wallace, 764 F.3d at 583 (emphasis

added). A district court, of course, must follow the law of this Circuit. See id. Because the Tiger

Lily decision was published, it is binding not only on later panels of the Sixth Circuit, but on this

Court as well, and CFPB’s basic premise collapses.

   III.      THE CFPB RULE LIKELY VIOLATES THE FIRST AMENDMENT
             BECAUSE IT REQUIRES FALSE DISCLOSURES

          CFPB’s First Amendment defense amounts to little more than its insistence that the

underlying CDC Halt Order is valid, and thus it may also force the Housing Providers to tell their

tenants that they may benefit from the Halt Order. But, as discussed, CFPB’s insistence is simply




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   Case 3:21-cv-00359 Document 20 Filed 05/11/21 Page 7 of 11 PageID #: 148
wrong. CFPB has no interest in enforcing the lawless Halt Order. Its assertion otherwise conflicts

with core First Amendment protections.

       As a threshold, CFPB is wrong in its description of the applicable standard of review and

its claim that the Housing Providers “agree on the relevant legal standard.” See CFPB Br. at 16.

Through some convenient editing, CFPB rolls past the Housing Providers’ argument that “the Rule

must be subject to strict scrutiny” (Pl. Br. at 16), and instead focuses on the Housing Providers’

description of an inapplicable standard of review as somehow setting the relevant legal standard.

See CFPB Br. at 16. But as argued in the Housing Providers’ opening brief, CFPB’s rule must be

subject to strict scrutiny, and it is presumptively unconstitutional because it compels false speech.

See EMW Women’s Surgical Ctr., P.S.C. v. Beshear, 920 F.3d 421, 425 (6th Cir. 2019) (citing

Nat’l Inst. of Fam. & Life Advocs. v. Becerra, 138 S. Ct. 2361, 2371 (2018) (NIFLA)) (“When

laws, whether restrictive or compulsive, ‘target speech based on its communicative content,’ they

generally ‘are presumptively unconstitutional and may be justified only if the government proves

that they are narrowly tailored to serve compelling state interests.’”). And, moreover, because the

rule does nothing to accomplish its stated purpose, it violates First Amendment protections. See

Pl. Br. at 16-17.

       Substantively, CFPB just challenges the premise concerning the validity of the CDC Halt

Order. CFPB dismisses the notion that its required notice would be false or misleading even though

“some consumers who receive the notice could turn out not to qualify for protection under the

CDC Order.” CFPB Br. at 16. CFPB goes even farther, and says, “Nor would the disclosure be

rendered false or misleading even if the disclosure were provided (despite not being required to be

provided) in a jurisdiction where the CDC Order was presently inapplicable due to a court order.”

CFPB Br. at 17. The reason? According to CFPB “[n]o court of appeals has definitively opined on



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   Case 3:21-cv-00359 Document 20 Filed 05/11/21 Page 8 of 11 PageID #: 149
the CDC Order’s validity.” CFPB Br. at 17-18. In other words, CFPB sees no problem forcing

disclosures that may or may not apply, because it sees some daylight between its preferred reading

of the law and adverse court decisions.

        CFPB’s argument fails because it sees no problem with misinforming consumers about

protections that simply do not exist. The Sixth Circuit has not equivocated, it held the Halt Order

to be unlawful. Tiger Lily, 992 F.3d at 522. But CFPB still insists that the Housing Providers must

tell their tenants otherwise or face civil liability and potential enforcement. Whether or not CFPB

wants to accept it, such disclosures are misleading. CFPB’s Rule tells the Housing Providers that

they are forbidden from telling the truth about the state of the Halt Order, but they may, at their

discretion, lie to their tenants about inapplicable protections. What rule better protects consumers?

One that permits them to tell the truth or one that requires them to lie?

        Finally, as an aside, CFPB claims that the Housing Providers “claim about the [Fair Debt

Collection Practices Act], [] is not properly raised in this motion as a basis for preliminary relief

because Plaintiffs have not argued that this claimed violation of law has caused them any

irreparable injury at all.” CFPB Br. at 20. On the contrary, the Housing Providers’ First

Amendment claim draws from the Rule’s conflict with the FDCPA. The agency has ordered the

plaintiffs to make false disclosures for fear of liability under the FDCPA (which CFPB enforces),

but to do so, it has mandated actions that are forbidden by the Act—false and misleading

statements. 3




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 CFPB argues dismissively that it can mandate the false disclosures here under the portion of the FDCPA preventing
“unfair” practices. CFPB Br. at 20-21. But it never explains how mandating false disclosures about inapplicable
protections constitutes unfairness. Indeed, one would think that misleading tenants about nonexistent protections
would be “unfair”—not the other way around.

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    Case 3:21-cv-00359 Document 20 Filed 05/11/21 Page 9 of 11 PageID #: 150
   IV.      CONCLUSION

         For the reasons set out above, the Court should enter a temporary restraining order against

the CFPB Rule.

May 11, 2021

                                              Respectfully,

                                              /s/ Caleb Kruckenberg
                                              Caleb Kruckenberg
                                              Litigation Counsel
                                              Admitted Pro Hac Vice
                                              John Vecchione
                                              Senior Litigation Counsel
                                              Pro Hac Vice Motion Pending
                                              New Civil Liberties Alliance
                                              1225 19th St. NW, Suite 450
                                              Washington, DC 20036
                                              caleb.kruckenberg@ncla.legal
                                              (202) 869-5210


                                              /s/ Ben M. Rose
                                              Ben M. Rose (#21254)
                                              RoseFirm, PLLC
                                              Post Office Box 1108
                                              Brentwood, TN 37024
                                              615-942-8295
                                              ben@rosefirm.com

                                              Counsel for Plaintiffs




                                                 10

  Case 3:21-cv-00359 Document 20 Filed 05/11/21 Page 10 of 11 PageID #: 151
                                CERTIFICATE OF SERVICE

       I hereby certify that on May 11, 2021, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system which sent notification of such filing to all counsel of record.


                                                     /s/ Caleb Kruckenberg
                                                     Caleb Kruckenberg
                                                     Counsel for Plaintiffs




  Case 3:21-cv-00359 Document 20 Filed 05/11/21 Page 11 of 11 PageID #: 152
